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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 RABBI STANLEY E. KROLL

              Plaintiff,
                                                    Case No. 19-cv-03919
        v.
                                                    Honorable John Z. Lee
 COZEN O’CONNOR, a
 Pennsylvania Professional
 Corporation

              Defendant.


 PLAINTIFF’S MOTION TO QUASH OR MODIFY DEFENDANT’S RULE 45
              SUBPOENAS TO PLAINTIFF’S LAWYERS

       Plaintiff, Rabbi Stanley E. Kroll, moves under Federal Rules of Civil Procedure

26 and 45 to quash or modify certain subpoenas that Defendant Cozen O’Connor

(“Cozen”) has served on three lawyers that have represented or advised Rabbi Kroll

(Michael Perlstein, Carmen Caruso and Alan Segal) because these subpoenas seek to

improperly invade the Rabbi’s attorney/client privilege and improperly override the

work product doctrine.

       Copies of the challenged subpoenas are submitted as Exhibit A.            Each

subpoena:

   §   Asserts that Cozen “seeks the production of Documents regardless of any claim

       of protection under the attorney-client privilege and/or work product doctrine.”

       (Exhibit A, “instruction #4 at pp. 7, 13, 19).

   §   Is limited to the period ending May 13, 2017. (Id., pp. 7-8, 13-14, 19-20). Not

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       coincidentally, this is two years to the day before Rabbi Kroll’s tolling

       agreement with Cozen expired on May 13, 2019. (See Declaration of Carmen

       D. Caruso, Exhibit B, ¶¶ 18-20).

       In an unsuccessful meet and confer effort preceding this motion, Cozen argued

that “Rabbi Kroll has waived the protection of the attorney-client privilege and work

product doctrine as it relates to the statute of limitations and when he knew or should

have known of his alleged injury.” (Id. ¶23).

       Under Rules 45 and 26, Rabbi Kroll moves to quash or modify the subpoenas

to his lawyers on the following grounds:

       A. The requested discovery is not relevant because Cozen’s assertion of the

           statute of limitations will be defeated by the parties’ tolling agreement, as

           Rabbi Kroll sued Cozen on May 10, 2017 before the tolling agreement

           expired.

       B. Even without the tolling agreement, Cozen’s statute of limitations defense

           will not be plausible.1 The statute of limitations on Rabbi Kroll’s claim

           against Cozen for aiding and abetting fraud by the CLS did not begin to run

           until long after May 13, 2017, because as of May 13, 2017, Rabbi Kroll had

           no knowledge of any involvement by Cozen in representing CLS – let alone



       1 Cozen has not yet answered the claim for aiding and abetting fraud that survived
its Rule 12(b)(6) motion to dismiss. Per the general orders issued in the Northern District
due to Covid-19, its answer will be due on June 10, 2020. If Cozen pleads limitations as an
affirmative defense, the Plaintiff intends to move to strike for the reasons stated here. See
Sarkis' Cafe, Inc. v. Sarks in the Park, LLC, 55 F. Supp. 3d 1034, 1040 (N.D. Ill. 2014)
(recognizing that most courts in the Seventh Circuit have held that the pleading standards
of Twombly/Iqbal apply to affirmative defenses.”).
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              knowledge that Cozen had aided and abetted a fraud scheme. (See Exhibits

              B and C). Moreover, Cozen engaged in fraudulent concealment to prevent

              Rabbi Kroll from discovering its involvement; and

        C. Even if Cozen overcomes these relevance objections, Rabbi Kroll has not

              waived his privileges because Cozen cannot show that “application of the

              privilege would [deny Cozen] have denied the opposing party access to

              information vital to his defense.” Pyramid Controls, Inc. v. Siemens Indus.

              Automations, Inc., 176 F.R.D. 269, 272 (N.D. Ill. 1997), quoting Hearn v.

              Rhay, 68 F.R.D. 574, 580 (E.D. Wash. 1975) (emphasis added).

 I.     Preliminary statement

        Rabbi Kroll is confident the inquiry Cozen wishes to undertake would yield no

evidence favorable to Cozen. (See Exhibit B, C and D).2 However, this motion is not

much ado about nothing. Rabbi Kroll is properly defending his privileges even though

Cozen’s inquiry is a complete waste of time.

II.     Background Facts

        Through the cited subpoenas, Cozen seeks privileged and non-privileged

communications from attorneys Michael Perlstein, Carmen Caruso, and Alan Segal.

As background:

        A.       Attorney Alan Segal was engaged in September 2017 to advise on tax

issues related to the then-pending litigation with CLS and the “Amendment Dated

December 30, 2016” as defined in the pleadings. (Exhibit B, ¶22). Segal had no


        2   Exhibit D is a Declaration by Rabbi Kroll.
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involvement in the time period (on or prior to May 13, 2017) covered by the pending

subpoena. Id.

        B.   Attorney Michael Perlstein was a trusted advisor Rabbi Kroll turned

to for guidance when the Rabbi learned CLS was unable or unwilling to start paying

out his deferred compensation at the beginning of 2017. Perlstein attests he had non-

privileged communication directly with CLS officers or board members, but had no

communication with any lawyers representing CLS (Exhibit C, ¶4); and he further

attests that on or before May 13, 2017, he had no knowledge Cozen was representing

CLS or had advised CLS in any way concerning Rabbi Kroll; no knowledge CLS had

executed the document referred to in the pleadings as the “Amendment Dated

December 30, 2016”; and no knowledge CLS had executed any instrument purporting

to change the terms of Rabbi Kroll’s deferred compensation agreement or otherwise

reduce the deferred compensation Rabbi Kroll would be entitled to receive. (Id., ¶¶

6-8).

        C.   Attorney Carmen Caruso served as Rabbi Kroll’s litigation counsel

against CLS in the preceding Cook County case, No. 2017 L 008394, and is trial

counsel in this case against Cozen. Caruso’s first non-privileged action on behalf of

Rabbi Kroll came on May 16, 2017 – after the time period covered by the Cozen

subpoena – when Caruso wrote directly to CLS president Lee Zolden on behalf of

Rabbi Kroll. (See Declaration of Carmen D. Caruso, Exhibit B, ¶3). Before sending

that letter, Caruso (like Perlstein) had no knowledge Cozen was representing CLS or

had advised CLS in any way concerning Rabbi Kroll; no knowledge CLS had executed



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the document referred to in the pleadings as the “Amendment Dated December 30,

2016”; and no knowledge CLS had executed any instrument purporting to change the

terms of Rabbi Kroll’s deferred compensation agreement or otherwise reduce the

deferred compensation Rabbi Kroll would be entitled to receive. (Id., ¶¶ 3(a), (b) and

(c)).

        D.    Events after Caruso’s demand letter on May 16, 2017: Cozen (by

attorney Jeremy Glenn) responded in writing on June 9, 2017, after one or more

phone calls post-May 16, 2017. (Id., ¶4). Glenn purported to express his client’s

“intention to provide for the Rabbi’s financial well-being following his many years of

service to CLS” – but Glenn communicated a “settlement offer” by CLS for less than

50% of Rabbi Kroll’s accrued deferred compensation as of that date. (Id.).3       Rabbi

Kroll rejected that proposal. (Id. ¶5).

        On July 5, 2017, Glenn delivered to Caruso a copy of the alleged “Amendment

Dated December 30, 2016” purporting to modify the Rabbi’s deferred compensation

agreement in ways unfavorable to Rabbi Kroll. (Id., ¶8). Glenn claimed he believed

this Amendment had been “discussed with the Rabbi and his previous attorney” but

Glenn never supplied facts to substantiate that claimed belief of his. (Id. and ¶12).

        On July 7, 2017, Caruso responded to Glenn stating in pertinent part:

        I am re-evaluating Rabbi Kroll’s position given the Amendment to the
        Stanley E. Kroll Deferred Compensation Plan dated December 30,
        2016 (“Amendment”), which you shared with me on July 5, 2017.

        3Glenn was proposing that Rabbi Kroll accept an annuity contract CLS had
purchased for Rabbi Kroll some years ago but that did not come close to meeting CLS’
contractual deferred compensation obligation to Rabbi Kroll. (Id.). On behalf of Rabbi
Kroll, Caruso informed Glenn on June 16, 2017 that the offer by CLS on June 9, 2017 was
rejected. (Id., ¶5).
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       To put it mildly, this Amendment, and your attempt to raise it
       some months into our discussions, puts the case in a different
       light.

       I have confirmed the Rabbi and attorney Michael Perlstein never saw
       this Amendment before July 5, 2017, never agreed to its terms and
       were never informed of its specific terms. Toward the end of 2016, the
       Synagogue asked the Rabbi to take early retirement effective the last
       day of the year. At your client’s request, the Rabbi agreed to do so,
       thus waiving his right to continued employment under his separate
       employment contract. Your client obtained this concession by the
       Rabbi without disclosing its intent to amend the deferred
       compensation plan.to substantially reducing its value. It appears your
       client committed fraud.

       ***
       Jeremy, I hope you did not draft the Amendment. With all
       respect, whichever lawyer drafted the Amendment and
       convinced the Synagogue it could get away with a frivolous
       fraudulent scheme to cheat the Rabbi should notify its
       malpractice carrier. …

(Exhibit B, ¶10) (emphasis added).4

       At no time after receiving Caruso’s July 7, 2017 letter did attorney Jeremy

Glenn, any other lawyer from Cozen, or any other lawyer representing CLS dispute

Caruso’s written statement that he had not seen the Amendment Dated December




       4 In the same letter on July 7, 2017, Caruso added his opinion that “as a matter of
contract law, the Amendment is ineffective to accomplish its fraudulent purpose. Per Plan
Section 5, the Synagogue could not amend to deprive the Rabbi of “any rights to which he
would have been entitled if the Plan had been terminated immediately prior to the effective
date of such Amendment.” Such “termination immediately prior” would have been
governed by Plan Section 6, which in its “other than interest” clause clearly and
unequivocally precludes the Synagogue from its attempt to avoid its obligation to pay
future interest at 7.5% over the balance of the installment period.” Id.

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30, 2016 before July 5, 2017, and nor did Glenn contravene Caruso’s statement that

he confirmed that his client and his client’s prior attorney (Michael Perlstein) had no

knowledge of this document or its contents. (Id., ¶¶ 11, 12).

       Moreover, attorney Glenn did not respond to Caruso’s written statement on

July 17, 2017 that:

       I hope you did not draft the Amendment. With all respect,
       whichever lawyer drafted the Amendment and convinced the
       Synagogue it could get away with a frivolous fraudulent scheme to
       cheat the Rabbi should notify his malpractice carrier.

(Id., ¶ 13).

       On August 18, 2017, Caruso filed Rabbi Kroll’s complaint against CLS in the

Cook County Circuit Court. (Id., ¶14). The complaint included a claim against CLS

for fraud but did not name Cozen as a co-defendant as there was no evidence

connecting Cozen to the fraudulent Amendment Dated December 30, 2016. (Id.)

       Cozen appeared in this state court case as counsel for CLS and filed a motion

to dismiss, arguing in part that Rabbi Kroll did not allege sufficient facts to support

his fraud claim against CLS. (Id., ¶15). Since Cozen was on notice since July 7, 2017

that “whichever lawyer drafted the Amendment and convinced the Synagogue it could

get away with a frivolous fraudulent scheme to cheat the Rabbi should notify his

malpractice carrier” – it is now clear that Cozen had an obvious conflict of interest in

attempting to defend CLS for the fraud that, still unknown to Rabbi Kroll, that Cozen

had aided and abetted. By purporting to defend CLS from the Rabbi’s fraud

allegations, Cozen was in further fraudulent concealment of its role in the fraud.



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         Rabbi Kroll filed an amended state court complaint against CLS on January

30, 2018. (Id., ¶16). Shortly after the amended complaint was filed, the law firm of

Levenfeld Pearlstein substituted for Cozen as counsel for CLS. (Id., ¶17).           This

enabled Rabbi Kroll to settle with CLS in a private mediation. (Id.).

         Thereafter, Rabbi Kroll entered a tolling agreement with Cozen, which expired

on Monday, May 13, 2017, after Cozen gave notice of termination of the tolling

agreement to Rabbi Kroll. (Id., ¶¶ 18-20).

         Rabbi Kroll sued Cozen in state court on Friday, May 10, 2019, then amended

on May 31, 2019. (Id., ¶19); and Cozen removed the case to federal court on June 11,

2019. (Dkt. # 1). The Rabbi’s complaint on May 10, 2017, included the claim that

Cozen aided and abetted its client’s fraud., as did the Amended Complaint on May

31, 2019. (Id.).


III.     ARGUMENT

         The importance of the attorney/client privilege must be acknowledged. As the

Supreme Court held in Upjohn Co. v. United States, 449 U.S. 383, 389, 101 S. Ct. 677,

682, 66 L. Ed. 2d 584 (1981):

         The lawyer–client privilege rests on the need for the advocate and
         counselor to know all that relates to the client's reasons for seeking
         representation if the professional mission is to be carried out.” And
         in Fisher v. United States, 425 U.S. 391, 403, 96 S.Ct. 1569, 1577, 48
         L.Ed.2d 39 (1976), we recognized the purpose of the privilege to be “to
         encourage clients to make full disclosure to their attorneys.” This
         rationale for the privilege has long been recognized by the Court,
         see Hunt v. Blackburn, 128 U.S. 464, 470, 9 S.Ct. 125, 127, 32 L.Ed.
         488 (1888) (privilege “is founded upon the necessity, in the interest and
         administration of justice, of the aid of persons having knowledge of the

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      law and skilled in its practice, which assistance can only be safely and
      readily availed of when free from the consequences or the
      apprehension of disclosure”).

      Accordingly, it is not easy for a litigant to establish an implied waiver of the

attorney/client privilege, as Cozen seeks to argue here. Rabbi Kroll’s denial that he

knew of facts sufficient to sue Cozen more than two years before he sued Cozen on

May 10, 2019 does not give rise to an implied waiver. See Claffey v. River Oaks

Hyundai, 486 F. Supp. 2d 776, 778 (N.D. Ill. 2007) (“as a general rule, an implied

waiver of this type happens only if a party uses privileged communications to defend

itself or attack its opponent … [and] COAF's mere denial of willfulness does not effect

an implied waiver of its attorney-client privilege”) (citations omitted).

      For the reasons set forth in Argument (C), Cozen’s implied waiver argument

fails under settled case law. But the Court need not reach that issue. As stated in

Arguments (A) and (B), Cozen’s claim that it must be allowed to invade Rabbi Kroll’s

privileges to develop its statute of limitations defense fails as implausible. See Sarkis'

Cafe, Inc. v. Sarks in the Park, LLC, 55 F. Supp. 3d 1034, 1040 (N.D. Ill. 2014)

(holding affirmative defenses to the same pleadings standards as a complaint).

          A. The requested discovery is not relevant due to the parties’
             tolling agreement.

      Cozen cannot dispute that Rabbi Kroll filed his complaint on May 10, 2017,

before the parties tolling agreement expired on May 13, 2017. (Exhibit B, ¶¶ 18-20).

The defendant’s desire to plead a statute of limitations defense is doomed. In the

exercise of its broad discretion to supervise discovery under the Federal Rules of Civil

Procedure, the Court should not permit Cozen to invade Rabbi Kroll’s privileges to

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develop a purported affirmative defense that will not be “plausible” in view of the

tolling agreement.

   B. Cozen misstates the “discovery rule” in this aiding and abetting case

      There is a second reason why Cozen’s hope of developing a statute of

limitations defense will fail: Cozen cannot overcome evidence of facts that refute its

apparent argument that Rabbi Kroll’s knowledge that the Synagogue had failed to

timely pay his deferred compensation triggered the running of the statute of

limitations on his claim against Cozen for aiding and abetting the Synagogue’s fraud.

(Exhibit B, ¶23).

      It is well-established in Illinois law that for purposes of applying a statute of

limitations, “plaintiffs should not be ‘held to a standard of knowing the inherently

unknowable.’” See Janousek v. Katten Muchin Rosenman LLP, 2015 IL App (1st)

142989, ¶ 29, 44 N.E.3d 501, quoting Nolan v. Johns-Manville, 85 Ill.2d at 171, 52

Ill.Dec. 1, 421 N.E.2d 864.

      In its “meet and confer” effort to justify these subpoenas, Cozen asserted it

seeks to establish when Rabbi Kroll learned of his injury (Exhibit B, ¶23) -- but that

is not a proper formulation of the issue. The question is not whether Rabbi Kroll

knew before May 10, 2017 that the Synagogue was in breach of its duty to timely pay

deferred compensation to Rabbi Kroll in amounts required by the Rabbi’s agreement

with the Synagogue. Cozen is begging the question of whether Rabbi Kroll, on or

before May 10, 2017, had sufficient knowledge of facts putting him on inquiry that

Cozen had possibly aided and abetted a fraud by its client against the Rabbi.


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         This case compares favorably for Rabbi Kroll to Janousek, where an Illinois

appellate court held that a plaintiff’s complaint against a law firm for aiding and

abetting its client’s breach of fiduciary duties was time-barred where:

         Janousek knew that Howard Richard, whom he identified in his
         complaint as Burton Slotky's nephew and Michael Slotky's cousin, had
         represented BIG when it filed its article of incorporation in 2007, as
         Richard signed the document as “organizer.” He also knew that
         Richard continued to act as the Slotkys' attorney after Janousek's
         employment ended and he filed his lawsuit against the Slotkys; while
         Janousek filed a motion to disqualify Katten from representing BIG,
         he did not object to Katten's continued representation of the Slotkys
         and BIG III. Further, Janousek knew of the formation of BIG III and
         could have requested a copy of the articles of incorporation from the
         Illinois Secretary of State, which lists Richard as the “organizer” of
         BIG III. Although Janousek contends that he was unable to determine
         defendants' role, that information was of public record.

Id.

         In contrast to Janousek, Rabbi Kroll could not check public records to

determine Cozen’s role as the lawyers advising CLS in December 2016, when CLS

fraudulently induced Rabbi Kroll to resign. Rabbi Kroll did not know of any

representation of CLS by Cozen until after Cozen responded to Rabbi Kroll’s May 16,

2017 demand letter; and Rabbi Kroll had no grounds to suspect fraud by Cozen until

July 2017, when Caruso stated to Cozen partner Jeremy Glenn, to repeat:

         I hope you did not draft the Amendment. With all respect,
         whichever lawyer drafted the Amendment and convinced the
         Synagogue it could get away with a frivolous fraudulent scheme to
         cheat the Rabbi should notify his malpractice carrier.

(Exhibit B, ¶10).




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       Even then, as of July 7, 2017, Rabbi Kroll could only suspect Cozen lawyers

were the culprits and he had no evidence linking Cozen to what was beginning to look

like serious fraud by the Synagogue, and Cozen continued to deflect the inquiry into

2018 as it defended CLS against the Rabbi’[s fraud claim.

       Illinois law “still requires that plaintiff is or should be aware of some possible

fault on the part of the defendant. Mitsias v. I-Flow Corp., 2011 IL App (1st) 101126,

¶ 24, 959 N.E.2d 94, 101–02 (citations omitted). Mere knowledge that CLS was in

derogation of its duties to pay his deferred compensation is insufficient as a matter

of law to conclude that Rabbi Kroll was on reasonable notice, before July 2017, of

possible fraud claims against the lawyers that drafted the Amendment Dated

December 30, 2016, and as a matter of law, “courts have held that reasonable

knowledge of wrongful cause requires more than a mere suspicion that wrongdoing

might have occurred, if that suspicion is not yet supported by facts known

to plaintiff.” Id.

       Simply put, the Court should not allow Cozen to invade Rabbi Kroll’s privileges

absent a showing by Cozen, in the first instance, that it would be plausible to believe

Rabbi Kroll had knowledge of facts putting him on notice of Cozen’s role in a fraud

scheme more than two years before Rabbi Kroll sued Cozen for aiding and abetting.

Cozen has not attempted to make such a showing, and it cannot do so.

   C. Rabbi Kroll has not made an “implied waiver” of his privileges

       In the parties’ meet and confer effort preceding this motion, Cozen cited the

“implied waiver” doctrine articulated in cases such as Pyramid Controls, Inc. v.


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Siemens Indus. Automations, Inc., 176 F.R.D. 269, 272 (N.D. Ill. 1997) (“Implied

waiver of the attorney-client privilege can occur where a party voluntarily injects

either a factual or legal issue into the case, the truthful resolution of which requires

an examination of the confidential communications.”)

      However, the mere filing of a fraud complaint is not an automatic implied

waiver of privilege. For Cozen to succeed in its “implied waiver” argument, Cozen

must show that “application of the privilege would have denied the opposing party

access to information vital to his defense.” Id. at 272, quoting Hearn v. Rhay, 68

F.R.D. 574, 580 (E.D. Wash. 1975) (emphasis added). Cozen has made no such

showing, and nor could it. The information vital to Cozen’s defense could only have

been imparted to Cozen through non-privileged communications from either Cozen or

its former client, CLS, to Rabbi Kroll. Rabbi Kroll does not object to discovery of non-

privileged communications; and nor can Cozen show lack of access to its own

communications or those by CLS, its former client. There has been no showing that

Cozen cannot defend itself without invading Rabbi Kroll’s privileges.

      Moreover, “[t]he advice of counsel is placed in issue where the client asserts a

claim or defense and attempts to prove that claim or defense by disclosing or

describing an attorney-client communication.” Beneficial Franchise Co., Inc. v. Bank

One, N.A., 205 F.R.D. 212, 216 (N.D. Ill 2001), citing Rhone–Poulenc Rorer, Inc. v.

Home Indemnity Co., 32 F.3d 851(3d Cir.1994). Rabbi Kroll is not seeking to prove

his claim based on privileged communications. There has been no implied waiver.

   D. Request for Relief


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      Under Federal Rule of Civil Procedure 45(d)(3)(A)(iii), the Court should quash

or modify the subpoenas to attorneys Perlstein, Caruso and Segal for improperly

seeking the discovery of privileged information or work product.

      WHEREFORE, Plaintiff Rabbi Stanley Kroll respectfully requests this Court

to grant Plaintiff’s motion quashing or modifying each of Defendant’s subpoenas, and

for such other relief as this Court deems equitable and just.

Dated: May 18, 2020

                                 Respectfully submitted,

                                 RABBI STANLEY E. KROLL, PLAINTIFF


                                 By:   /s/ Carmen D. Caruso
                                         One of his Attorneys



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                           CERTIFICATE OF SERVICE

      I certify that on May 18, 2020, a true and correct copy of the foregoing was filed

in the Court’s electronic filing system. Notice of this filing and a copy of the foregoing

was emailed to all counsel of record copied below via the Court’s ECF system.


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